     Case 2:19-cv-00706-R-AS Document 11 Filed 03/18/19 Page 1 of 2 Page ID #:34




 1   SO. CAL. EQUAL ACCESS GROUP
     Jason Yoon (SBN 306137)
 2   Jason J. Kim (SBN 190246)
     101 S. Western Ave., Second Floor
 3   Los Angeles, CA 90004
     Telephone: (213) 252-8008
 4   Facsimile: (213) 252-8009
     scalequalaccess@yahoo.com
 5
     Attorneys for Plaintiff
 6   JWA HYUN KIM
 7
 8
                                UNITED STATES DISTRICT COURT

 9
                               CENTRAL DISTRICT OF CALIFORNIA

10
     JWA HYUN KIM,                                     Case No.: 2:19-cv-00706-R (ASx)
11
                  Plaintiff,
12
           vs.
13
                                                       NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
14   MOON JUICE VENTURES, LLC. D/B/A                   WITH PREJUDICE
     MOON JUICE; LLW SUNSET, LLC; and
15
     DOES 1 through 10,
16                Defendants.
17
18
19         PLEASE TAKE NOTICE that Plaintiff JWA HYUN KIM (“Plaintiff”) pursuant
20   to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
21   action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22   provides in relevant part:
23         (a) Voluntary Dismissal.
24
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                         and any applicable federal statute, the plaintiff may dismiss an action
26
                         without a court order by filing:
27
28


                                                   1
          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:19-cv-00706-R-AS Document 11 Filed 03/18/19 Page 2 of 2 Page ID #:35




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5
     Court.
 6
 7   DATED: March 18, 2019          SO. CAL. EQUAL ACCESS GROUP
 8
 9                                  By:      /s/ Jason Yoon
10                                        Jason Yoon, Esq.
                                          Attorneys for Plaintiff
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                 2
          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
